
Mtjiídogk,
dissenting: I dissent from the foregoing opinion, first, for the reason that the value of the contract represented by the right to the continued use of Limbert’s name was not such an asset as could form the basis for any amount of invested capital because of earned surplus er otherwise.
Furthermore, the Board has found that the contract with Limbert had a value of $70,000, that it was an asset of a permanent nature, and that it should be included in invested capital at the amount of $70,000 for each of the years in controversy. To hold that the contract in question, was of permanent value overlooks the fact that a considerable portion of the value of the contract represented advance salary” to Limbert for 10 years and that as those 10 years passed, this value exhausted.
The opinion holds that it is unnecessary to decide whether the contract was tangible or intangible property, since the amount to be included in invested capital is less than the maximum for intangibles, as provided by section 326(a) of the Revenue Ac*ts of 1918 and 1921. *1399Yet, it appears that the consideration paid by the petitioner for the contract in question included $25,000 in cash and in regard to that portion of the value of the contract so purchased, the above mentioned sections of the Revenue Acts would not be applicable.
Stbknhagen concurs in this dissent.
